904 F.2d 45
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Esther GOLLNER, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 90-3103.
    United States Court of Appeals, Federal Circuit.
    May 9, 1990.Rehearing Denied June 6, 1990.
    
      Before NIES and PLAGER, Circuit Judges, and SPENCER WILLIAMS,* Senior Judge.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Senior Judge Spencer Williams of the United States District Court for the Norther District of California, sitting by designation
      
    
    